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                IN THE UNITED STATES DISTRICT COURT FQILXHE
                             EASTERN DISTRICT OF VIRGINIA                       i    I        E    ni
                                      Alexandria Division
                                                                        r      .'
                                                                                • M 1 4 2018
Christopher N.Payne,
       Plaintiff,                                                           ALBCANDRIA^ VIRniMiA

V.                                                                 l:18cv587(LO/IDD)

Jahal Taslimi,^ al..
       Defendants.

                                            ORDER


       Christopher N.Payne,a Virginia inmate proceeding pro se, has filed a civil rights action,

pursuant to 42 U.S.C. § 1983. After reviewing plaintiffs complaint,the claims against

defendant will be dismissed pursuant to 28 U.S.C. § 1915A(b).^
       Plaintiff alleges that, on January 16,2018, while he was incarcerated at Deep Meadows

Correctional Center, Doctor Taslimi disclosed plaintiffs HIV status in front ofother staff and

inmates. Dkt. No. 1. Plaintiff claims this was done in violation ofthe Health Insurance

Portability and Accountability Act of 1996("HIPAA"), Virginia law, Virginia Department of




      'Section 1915A provides:
      (a) Screening.—^The court shall review, before docketing, if feasible or, in any
      event, as soon as practicable after docketing, a complaint in a civil action in which
      a prisoner seeks redress from a governmental entity or officer or employee of a
       governmental entity.

      (b) Grounds for dismissal.—On review, the court shall identify cognizable
      claims or dismiss the complaint, or any portion of the complaint, if the
       complaint—
              (1) is fnvolous, malicious, or fails to state a claim upon which
              reliefcan be granted; or
              (2) seeks monetary relief from a defendant who is immune from
              such relief.
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